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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Case No. 1:20-cv-02765-RMR-MEH

   JANE DOE,

          Plaintiff,

   v.

   PAUL WANG,

          Defendant.

                MOTION TO RECONSIDER THE NOVEMBER 10, 2020 ORDER
                ALLOWING PLAINTIFF TO PROCEED UNDER PSEUDONYM
                             (with additional redactions)




          Mr. Paul Wang, by and through his undersigned counsel, respectfully requests that the

   Court reconsider its November 10, 2020 Order granting Plaintiff’s motion to proceed under a

   pseudonym. See Servants of the Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000)

   (“Grounds warranting a motion to reconsider include (1) an intervening change in the controlling

   law, (2) new evidence previously unavailable, and (3) the need to correct clear error or prevent

   manifest injustice.”).

                                   CERTIFICATION OF CONFERRAL

         Mr. Wang has conferred with Plaintiff. She objects.

         1.       On November 4, 2020, Plaintiff filed a motion for “Protective Order and to

   proceed under a pseudonym.” (Doc. 11) Six days later, with no Response having been filed, the

   Court signed off on Plaintiff’s proposed order. (Doc. 13)


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         2.       “The title of [a] complaint must name all the parties.” Fed. R. Civ. P. 10(a).


                  This requirement, though seemingly pedestrian, serves the vital
                  purpose of facilitating public scrutiny of judicial proceedings and
                  therefore cannot be set aside lightly. Certainly, “[i]dentifying the
                  parties to the proceeding is an important dimension of publicness.
                  The people have a right to know who is using their courts.”

   Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 188–89 (2d Cir. 2008) (quoting Doe v. Blue

   Cross & Blue Shield United, 112 F.3d 869, 872 (7th Cir.1997) (Posner, J.)).


         3.       Only in exceptional circumstances may a court permit a plaintiff to proceed under

   a pseudonym. M.M. v. Zavaras, 139 F.3d 798, 803 (10th Cir. 1998) (quoting Doe v. Frank, 951

   F.2d 320, 324 (11th Cir. 1992)). “Ordinarily, those using the courts must be prepared to accept

   the public scrutiny that is an inherent part of public trials.” Doe v. Merck & Co., No. 11-CV-

   02680-RBJ-KLM, 2012 WL 555520, at *4 (D. Colo. Feb. 17, 2012) (quoting Femedeer v. Haun,

   227 F.3d 1244, 1246 (10th Cir. 2000)).

          4.      “[A] decision to allow or to deny parties to proceed anonymously must be based

   upon ‘informed discretion’, after taking all relevant factors into consideration.” Zavaras, 139

   F.3d at 803. Among the relevant factors a court must consider are:


          (1) whether the litigation involves matters that are “highly sensitive and [of a]
          personal nature”;

          (2) whether identification poses a risk of retaliatory physical or mental harm to
          the ... party [seeking to proceed anonymously] or even more critically, to innocent
          non-parties;

          (3) whether identification presents other harms and the likely severity of those
          harms, including whether the injury litigated against would be incurred as a result
          of the disclosure of the plaintiff's identity;


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          (4) whether the plaintiff is particularly vulnerable to the possible harms of
          disclosure . . ., particularly in light of h[er] age;

          (5) whether the suit is challenging the actions of the government or that of private
          parties;

          (6) whether the defendant is prejudiced by allowing the plaintiff to press h[er]
          claims anonymously, whether the nature of that prejudice (if any) differs at any
          particular stage of the litigation, and whether any prejudice can be mitigated by
          the district court;

          (7) whether the plaintiff's identity has thus far been kept confidential;

          (8) whether the public's interest in the litigation is furthered by requiring the
          plaintiff to disclose h[er] identity;

          (9) whether, because of the purely legal nature of the issues presented or
          otherwise, there is an atypically weak public interest in knowing the litigants’
          identities; and

          (10) whether there are any alternative mechanisms for protecting the
          confidentiality of the plaintiff.

   Sealed Plaintiff, 537 F.3d at 190 (combining factors considered by different district and appellate

   courts to create a non-exhaustive list for courts’ consideration) (internal quotation marks and

   citations omitted).


          5.      At the time Plaintiff filed her motion and the Court granted it, Plaintiff had not yet

   served Mr. Wang. Accordingly, he did not have the opportunity to participate in and provide the

   relevant information necessary for the Court’s application of the multifactor test above to

   determine whether Plaintiff’s interest in privacy outweighs the public interest in access to open

   court proceedings. See id.; Coe v. United States Dist. Court, 676 F.2d 411, 418 (10th Cir. 1982).

          6.      Here, applying the requisite factors to the facts demonstrates conclusively that

   Plaintiff has not met, and cannot meet, the test for overcoming the public’s presumptive right to

   monitor judicial proceedings by having access to all parties’ true identities:
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           8.     More recently, in People v.                Plaintiff was convicted of three criminal

   counts, including vandalism, violation of the above protective order, and disorderly conduct by

   posting “revenge porn” photographs. Attachment H , Court notes in Orange County Superior

   Court, Case. No.                 see also Attachment I (Decl. Dunkerly), ¶ 14.

           9.     In       v. City of El Monte, et al., Case Number                    RGK-JDE, in the

   Central District of California, which is now pending in the Ninth Circuit Court of Appeals in

        v. Jara, et al., Case Number


           Plaintiff represented in her request to proceed anonymously that her case had
           “gained media attention from several journalists, including San Gabriel Valley
           Tribune, The Appeal, and BuzzFeed” as a reason for allowing her to proceed
           pseudonymously. (See Exhibit E at p. 4, lines 19–20.) However, she failed to
           inform the court that it was she who had contacted these three news entities with a
           tip and that despite her overtures, none of those news organizations had ever
           published anything about her. That she herself had tried to generate media interest
           in facts stemming from her alleged rape and investigation into that rape was not
           disclosed until her deposition in March 2021.

           See Attachment I, Declaration of Erin R. Dunkerly Esq., ¶ 9 As Ms. Dunkerly explains:


           I asked [Ms.        to identify all lawsuits she had filed within the past five
           years, and she refused. Based on the fact that contrary to plaintiff’s previous
           untrue representation that she required protection from media interest when it
           was she who tried to generate media interest in her own case by contacting
           three media outlets; the fact that during the course of my work on the          v.
           City of El Monte, et al. matter I have not received any information from
           plaintiff about anyone stigmatizing or retaliating against her as an alleged
           sexual assault victim; and based on the fact that plaintiff has repeatedly failed
           to disclose the existence of other lawsuits wherein she alleged personal injury
           and/or emotional distress damages that are either relevant or likely to lead to
           the discovery of admissible evidence in my case, I believe plaintiff has
           intentionally left defendants in the dark as to what other lawsuits she has filed
           to cut off defendants’ access to that otherwise public and discoverable
           information.

   Id. ¶ 11.

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          10.      Plaintiff has been sanctioned several times for her litigation conduct. Id. ¶ 12; see

   also Attachment J, Declaration of Dawn Ceizler Esq., counsel in Doe v. Weamer, Contra Costa

   County Superior Court Case No. C20-00827, ¶¶ 4-5.

          11.      In addition, here,


          •     Plaintiff does not allege that Mr. Wang has sexually assaulted her;3

          •     Neither the filing of a police report nor the existence of a criminal sexual assault case

                is a private matter in the United States;

          •     Plaintiff’s allegations of concern in her November 4, 2020 motion are purely

                speculative;

          •     Even if they could be arguably considered meritorious they have been mooted in light

                of the above mentioned facts and her own conduct;

          •     Grave prejudice has already been caused to Mr. Wang (and numerous other

                defendants) by allowing Plaintiff to proceed under a pseudonym, which has restricted

                their access to relevant information in the other cases 4 and discouraged them from

                participating as a witness in those proceedings;



   3 Plaintiff has repeatedly defamed Mr. Wang, by name, on the internet and has posted private
   information about him, his family, and friends. See, e.g., Attachment K.
   4  See, e.g., Jane Doe v. City of Concord, et al., United States District Court Northern District of
   California, Case Number                 Jane Doe v. Newsom, et al., United States District Court
   Central District of California, Case Number 2:20-cv-          JAK(PVCx); Jane Doe v. County of
   Orange, et al., United States District Court Central District of California, Case Number
   SACV20-            ODX(DJW); Jane Doe v. County of                                  County
   Superior Court, Case Number                      (Attachment I at ¶ 10) See also             v.
   City of El Monte,                County Superior Court, Case Number                     and
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          •   Allowing Plaintiff to continue to proceed under a pseudonym is circumventing the

              courts’ ability to determine, based on the totality of the circumstances in all these

              cases, whether Plaintiff is a vexatious litigant.5

          •    “The risk that a plaintiff may suffer some embarrassment is not enough to permit the

              plaintiff to proceed anonymously.” Berkshire Life Ins. Co. of Am., 2020 WL 3429152,

              at *1. Especially, where, as here, Plaintiff has repeatedly identified herself, by name,

              as an alleged “victim of sexual harassment” both on the internet and in publicly filed

              court documents. See, e.g., supra, ¶¶ 6-8. Plaintiff , therefore, should not be granted

              leave to proceed anonymously because “the injury of which plaintiff complains in his

              complaint has already occurred.” Doe v. Berkshire Life Ins. Co. of Am., No. 20-CV-

              01033-PAB-NRN, 2020 WL 3429152, at *3 (D. Colo. June 23, 2020) (citing Doe v.

              FBI, 218 F.R.D. 256, 260 (D. Colo. 2003).

          •   Further, she should not be allowed to force Mr. Wang to defend himself “publicly,

              while Plaintiff is permitted to hurl h[er] accusations from behind a cloak of

              anonymity.” Merck & Co., 2012 WL 555520, at *3 (internal quotations omitted)




        v. County of                            County Superior Court, Case Number
   (filed August 26, 2021).

   Mr. Wang, pursuant to Rule 201(b) of Federal Rules of Evidence, requests that the Court take
   judicial notice of these cases.

   5
     See Tripati v. Beaman, 878 F.2d 351, 352 (10th Cir. 1989) (holding that a district court has
   power under 28 U.S.C. § 1651(a) to enjoin litigants who abuse the court system by harassing
   their opponents).
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                (denying plaintiff’s request to procced under a pseudonym); see also Rose v.

                Beaumont Indep. Sch. Dist., 240 F.R.D. 264, 267 (E.D.Tex. 2007) (same).


          12.      In sum, the prejudice caused to all the defendants and families impacted by the

   emotional and financial cost of these litigations, as well as the public interest in access to open

   court proceedings and the judicial interest in preventing vexatious litigants from wasting limited

   judicial resources, requires that Plaintiff proceed in this action using her real name.


          WHEREFORE, Mr. Wang respectfully requests that the Court reconsider its November

   10, 2020 Order and order Plaintiff to proceed with her real name. See also, e.g., United Fin. Cas.

   Co. v. R.A.E., Inc., No. CV 20-2467-KHV, 2020 WL 6117895, at *2 (D. Kan. Oct. 16, 2020)

   (denying litigant’s the request to proceed under a pseudonym); Doe v. Bryant, No. 04-M-1638

   (Matsch J.) (same) (Attachment L).



          Respectfully submitted this 27th day of August 2021.


                                                          /s/ Katayoun A. Donnelly
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 27, 2021, I served an electronic copy of the foregoing via

   CM/ECF to counsel of record.



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